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                       UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT O F TEXAS
                           S H E R M A N DIVISION


   Timothy Jackson,

                           Plaintiff,
                                                  Case No. 4:21-cv-00033-ALM
   v.

   Laura Wright, et al.,

                           Defendants.


                 MOTION FOR WITHDRAWAL OF PLAINTIFF’S
                   MOTION FOR EXPEDITED DISCOVERY

        Plaintiff Timothy Jackson hereby respectfully moves to withdraw his motion for

 expedited discovery filed on March 9, 2021 (ECF No. 7). As good grounds for this

 motion, Plaintiff states as follows:

        The parties held their Rule 26(f) conference April 14, 2021, which moots the

 expedited-discovery request.

        WHEREFORE, Plaintiff Timothy Jackson respectfully moves this honorable

 Court to withdraw his Motion for Expedited Discovery (ECF No. 7).

                                             Respectfully submitted.

                                             /s/ Michael Thad Allen

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  Dated: April 21, 2021                      Counsel for Plaintiff
Case 4:21-cv-00033-ALM CERTIFICATE    OF 04/21/21
                        Document 22 Filed SERVICE Page 2 of 2 PageID #: 652
    I certify that on April 15, 2021, I served this document through CM/ECF upon:
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  Counsel for Defendants


                                            /s/ Michael Thad Allen
                                            Michael Thad Allen Lead
                                            Counsel for Plaintiff




 WITHDRAWAL OF EXPEDITED DISCOVERY MOTION                                 Page 2 of 2
